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 8                                IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:11-CR-00354-LJO
12                                      Plaintiff,       PRELIMINARY ORDER OF
                                                         FORFEITURE
13                            v.
14   FLORENTINO TORRES ACOSTA,

15                                  Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of
18 America and defendant Florentino Torres Acosta it is hereby

19                  ORDERED, ADJUDGED AND DECREED as follows:
20                  1. Pursuant to 21 U.S.C. § 853, defendant Florentino Torres Acosta’s interest
21 in the following property shall be condemned and forfeited to the United States of

22 America, to be disposed of according to law:

23                           a)         Approximately $95,111.00 in U.S. Currency,
24                  2. The above-listed property constitutes property derived from, proceeds
25 obtained directly or indirectly, or were used, or intended to be used, in any manner or

26 part, to commit, or to facilitated the commission of a violation of 21 U.S.C. § 841(a)(1) and
27 846.

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 1                  3. Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be
 2 authorized to seize the above-listed property. The aforementioned property shall be seized

 3 and held by the Bureau of Alcohol, Tobacco, Firearms and Explosives, in its secure custody

 4 and control.

 5                  4.       a. Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United
 6 States shall publish notice of the order of forfeiture. Notice of this Order and notice of the

 7 Attorney General’s (or a designee’s) intent to dispose of the property in such manner as

 8 the Attorney General may direct shall be posted for at least 30 consecutive days on the
 9 official internet government forfeiture site www.forfeiture.gov. The United States may
10 also, to the extent practicable, provide direct written notice to any person known to have

11 alleged an interest in the property that is the subject of the order of forfeiture as a

12 substitute for published notice as to those persons so notified.

13                           b. This notice shall state that any person, other than the defendant,
14 asserting a legal interest in the above-listed property, must file a petition with the Court

15 within sixty (60) days from the first day of publication of the Notice of Forfeiture posted on
16 the official government forfeiture site, or within thirty (30) days from receipt of direct

17 written notice, whichever is earlier.

18                  5. If a petition is timely filed, upon adjudication of all third-party interests, if
19 any, this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853 in which

20 all interests will be addressed.

21                  6. The government, in its discretion, shall conduct discovery, including

22 written discovery, the taking of depositions, and the issuance of subpoenas, in order to

23 identify, locate or dispose of property subject to forfeiture in accordance with Rule

24 32.2(b)(3) of the Federal Rules of Criminal Procedure.

25

26 IT IS SO ORDERED.
27      Dated:     March 19, 2014                         /s/ Lawrence J. O’Neill
                                                    UNITED STATES DISTRICT JUDGE
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     Preliminary Order of Forfeiture          3
